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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
      AMAZON.COM, INC., a Delaware
10    corporation,                                    No.
11                          Plaintiff,                COMPLAINT FOR DAMAGES
                                                      AND EQUITABLE RELIEF
12          v.
13    KELLY FITZPATRICK, an individual;
      SABRINA KELLY-KREJCI, an individual;
14    KANG WANG, an unknown entity, d/b/a
      SEVENSTAR;
15    PUTIAN WEISEN TRADING CO., LTD, an
      unknown entity, d/b/a LWENSTORE; JOSE A.
16    PAGAN, an individual, d/b/a GAM SPORTS;
17    YAN RUIQUN, an individual, d/b/a
      KALOSUHA; JESSE A. FASNACHT, an
18    individual, d/b/a BRADYYER; BRADY
      MICHAEL ABBOTT, an individual;
19    ZHUXIUBING, an unknown entity, d/b/a
      GOGO TRENDY; CHENMAOQING, an
20
      unknown entity, d/b/a MYERH STORE;
21    QUANFUWOWANGLUOKEJI (SHENZHEN)
      YOUXIANGONGSI, an unknown entity, d/b/a
22    KEABIE; JINJIANGSHI OUSAIER TRADE
      CO., LTD, an unknown entity, d/b/a WINJOY
23    MALL;
      JINANSHITIANQIAOQUNATAISHANGMA
24    OYOUXIANGONGSI, an unknown entity,
      d/b/a BIIKII;
25    HANDANSHIHANSHANQUZUOCHANGM
      AOYIYOUXIANGONGSI, an unknown entity,
26    d/b/a GBEEGBEE,

27                          Defendants.

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                                           I. INTRODUCTION
 1
             1.      This case involves the Defendants’ unlawful and expressly prohibited
 2
      advertisement, promotion, and/or sale of counterfeit luxury products on Amazon.com. Amazon
 3
      brings this lawsuit to permanently prevent and enjoin Defendants Kelly Fitzpatrick
 4
      (“Fitzpatrick”), Sabrina Kelly-Krejci (“Kelly-Krejci”) and the Seller Defendants identified
 5
      below (collectively, “Defendants”), from causing future harm to Amazon’s customers and to
 6
      hold Defendants accountable for their illegal actions. As set forth in detail below, this case
 7
      revolves around a pair of individuals, Defendants Kelly Fitzpatrick and Sabrina Kelly-Krejci,
 8
      who engage in social influencer activities on various websites and apps for the admitted
 9
      purpose of promoting, advertising, and facilitating the sale of counterfeit luxury fashion goods
10
      by the Seller Defendants. Together, they engage in a sophisticated campaign of false
11
      advertising for the purpose of evading Amazon’s counterfeit detection tools.
12
             2.      For example, Fitzpatrick and Kelly-Krejci publish videos, photographs, and
13
      detailed descriptions of clearly infringing products on their social media and other websites and
14
      apps, and link to offer listing pages in the Amazon store. Fitzpatrick and Kelly-Krejci refer to
15
      the products they promote as “dupes,” a fashion industry term that connotes items that may
16
      have similarities to a designer item but that do not copy logos or trademarked features.
17
      However, that is not what Fitzpatrick and Kelly-Krejci are advertising to their followers: these
18
      so-called “dupes” are obviously counterfeit goods that blatantly copy the registered trademarks
19
      of luxury brands.
20
             3.      Often, the Amazon pages display only a generic, seemingly non-infringing
21
      product; the counterfeit nature of the product is revealed only to those who order and receive
22
      the product. As Fitzpatrick routinely instructs her followers in social media posts: “Order
23
      this/Get this!” as depicted in the below July 15, 2020 post from Fitzpatrick’s @Styleeandgrace
24
      Instagram account:
25

26

27

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13    As Fitzpatrick explains to her followers, a “hidden link” means “[y]ou order a certain product

14    that looks nothing like the designer dupe in order to hide the item from getting taken down [by

15    Amazon] and orders being cancelled”:1

16

17

18
19

20

21

22

23    In other words, order a seemingly non-infringing item in order to get a counterfeit fashion

24    product – the very essence of false advertising, as the product Defendants are advertising on

25    Amazon is simply a false placeholder designed to evade Amazon’s counterfeit detection

26
      1
27        https://www.styleeandgrace.com/video-review-dior-saddle-bag-amazon-hidden-link-find/

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 1    systems. Once the orders are placed, the Seller Defendants and other bad actors then ship

 2    counterfeit products to customers. Contrary to Fitzpatrick’s assertion, however, Amazon does

 3    not “let the links sell out”; rather, Amazon blocks the product as soon as it becomes aware of

 4    the true infringing nature. But Fitzpatrick and Kelly-Krejci are persistent in their promotion of

 5    counterfeit items. When Instagram and other websites and apps have removed their social

 6    media accounts, Fitzpatrick and Kelly-Krejci have simply created new accounts to continue

 7    their illicit activities.

 8             4.   For all their deceptive advertising, Fitzpatrick and Kelly-Krejci make no efforts to

 9    conceal their true motive behind this scheme: Hiding the counterfeits from Amazon, which

10    employs sophisticated brand protections to prevent infringing items from ever being advertised

11    in the Amazon store. Indeed, after Amazon became aware of Fitzpatrick’s “Order this, get

12    this” scheme and shut down the offending order pages, Fitzpatrick lamented to her followers,

13    “Amazon has rarely has [sic] any dupes lately and that’s because they’ve cracked down so

14    hard.”2 As a result of Amazon having “cracked down so hard” on “dupes,” Fitzpatrick began

15    directing her followers to other e-commerce websites: “I know it’s a big change to switch from

16    Amazon to [a different website] but this [switch] guarantees that the links do not get reported

17    and shut down….” (Emphasis added.)3 Similarly, Kelly-Krejci has directed her followers to

18    use “hidden links” to order counterfeit products, emphasizing that she “know[s] some people

19    feel weird ordering from hidden links but in this case you will get something fabulous.”4 A

20    “hidden link” is one where the offer listing page shows a generic, non-infringing item but the

21    product that is actually delivered is different from what is shown.

22                                               II. BACKGROUND
23             5.   The Amazon store offers products and services to customers in more than 100

24    countries around the globe. Some of the products are sold directly by Amazon, while others are

25
      2
        https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
26    amazon/
      3
        https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
27    amazon/
      4
        https://budgetstylefiles.com/review-cc-wristlet-ama-z0n/
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 1    sold by Amazon’s numerous selling partners. The Amazon brand is one of the most well-

 2    recognized, valuable, and trusted brands in the world. In order to protect customers and

 3    safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 4    to prevent counterfeit goods from being sold in its store.

 5           6.    From in or about November 2019 through the filing of the Complaint, Defendants

 6    have advertised, marketed, offered, and/or sold counterfeit luxury products to deceive Amazon

 7    and customers about the authenticity and origin of the products and the products’ affiliation

 8    with various luxury brands.

 9           7.    As a result of their illegal actions, Defendants have willfully deceived and harmed

10    Amazon and its customers, compromised the integrity of the Amazon store, and undermined

11    the trust that customers place in Amazon. Defendants’ illegal actions have caused Amazon to

12    expend significant resources to investigate and combat Defendants’ wrongdoing and to bring

13    this lawsuit to prevent Defendants from inflicting future harm to Amazon and its customers.

14                                              III.PARTIES
15          8.     Amazon.com, Inc. is a Delaware corporation with its principal place of business in

16    Seattle, Washington. Through its subsidiaries, Amazon.com, Inc. owns and operates the

17    Amazon.com website, counterpart international websites, and the Amazon store (collectively,

18    “Amazon”).

19           9.    Defendants are a collection of individuals and entities who conspired and operated

20    in concert with each other to engage in the counterfeiting scheme alleged in this Complaint. In

21    some cases, the Seller Defendants took intentional and affirmative steps to attempt to hide their

22    true identities and whereabouts from Amazon by using fake names and contact information,

23    and unregistered businesses to conduct their activities. Defendants are liable for their wrongful

24    conduct both directly and under principles of secondary liability, including, without limitation,

25    respondeat superior and/or vicarious liability.

26           10. On information and belief, Defendant Kelly Fitzpatrick is an individual who

27    resides in Islip Terrace, New York who personally participated in and/or had the right and

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 1    ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

 2    derived a direct financial benefit from that wrongful conduct.

 3           11. On information and belief, Defendant Sabrina Kelly-Krejci is an individual who

 4    resides in Beloit, Wisconsin who personally participated in and/or had the right and ability to

 5    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

 6    direct financial benefit from that wrongful conduct.

 7           12. On information and belief, Defendant Kang Wang d/b/a Sevenstar is an individual

 8    who resides in China who personally participated in and/or had the right and ability to

 9    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

10    direct financial benefit from that wrongful conduct.

11           13. On information and belief, Defendant Putian Weisen Trading Co., Ltd d/b/a

12    Lwenstore is a business based in China that participated in and/or had the right and ability to

13    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

14    direct financial benefit from that wrongful conduct.

15           14. On information and belief, Defendant Jose A. Pagan d/b/a Gam Sports is an

16    individual who resides in Kissimmee, Florida who personally participated in and/or had the

17    right and ability to supervise, direct, and control the wrongful conduct alleged in this

18    Complaint, and derived a direct financial benefit from that wrongful conduct.

19           15. On information and belief, Defendant Yang Ruiqun d/b/a Kaloshua is an individual

20    who resides in China who personally participated in and/or had the right and ability to

21    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

22    direct financial benefit from that wrongful conduct.

23           16. On information and belief, Jesse A. Fasnacht d/b/a Bradyyer is an individual who

24    resides in Norristown, Pennsylvania who personally participated in and/or had the right and

25    ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

26    derived a direct financial benefit from that wrongful conduct.

27           17. On information and belief, Brady Michael Abbott is an individual who resides in

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 1    Norristown, Pennsylvania who personally participated in and/or had the right and ability to

 2    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

 3    direct financial benefit from that wrongful conduct.

 4           18. On information and belief, Defendant Zhuxiubing d/b/a Gogo Trendy is a business

 5    based in China that participated in and/or had the right and ability to supervise, direct, and

 6    control the wrongful conduct alleged in this Complaint, and derived a direct financial benefit

 7    from that wrongful conduct.

 8           19. On information and belief, Defendant Chenmaoqing d/b/a Myerh Store is a

 9    business based in China that participated in and/or had the right and ability to supervise, direct,

10    and control the wrongful conduct alleged in this Complaint, and derived a direct financial

11    benefit from that wrongful conduct.

12           20. On information and belief, Defendant Quanfuwowangluokeji (Shenzhen)

13    youxiangongsi d/b/a Keabie is a business based in China that participated in and/or had the

14    right and ability to supervise, direct, and control the wrongful conduct alleged in this

15    Complaint, and derived a direct financial benefit from that wrongful conduct.

16            21.    On information and belief, Defendant Jinjiangshi Ousaier Trade Co., Ltd d/b/a

17    Winjoy Mall is a business based in China that participated in and/or had the right and ability to

18    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

19    direct financial benefit from that wrongful conduct.

20            22.    On information and belief, Defendant

21    jinanshitianqiaoqunataishangmaoyouxiangongsi d/b/a BIIKII is a business based in China that

22    participated in and/or had the right and ability to supervise, direct, and control the wrongful

23    conduct alleged in this Complaint, and derived a direct financial benefit from that wrongful

24    conduct.

25           23.     On information and belief, Defendant

26    handanshihanshanquzuochangmaoyiyouxiangongsi d/b/a GbeeGbee is a business based in

27    China that participated in and/or had the right and ability to supervise, direct, and control the

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 1    wrongful conduct alleged in this Complaint, and derived a direct financial benefit from that

 2    wrongful conduct.

 3                                  IV. JURISDICTION AND VENUE
 4           24.     The Court has subject matter jurisdiction over Amazon’s Lanham Act claims for

 5    false designation and false advertising and for contributory false designation and false

 6    advertising, pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court also

 7    has subject matter jurisdiction over Amazon’s claim for violation of the Washington Consumer

 8    Protection Act, pursuant to 28 U.S.C. §§ 1332 and 1367.

 9           25.     The Court has personal jurisdiction over all Defendants because they transacted

10    business and committed tortious acts within and directed to the State of Washington, and

11    Amazon’s claims arise from those activities. Defendants affirmatively undertook to do

12    business with Amazon, a corporation with its principal place of business in Washington, by

13    promoting, advertising or selling counterfeit products in the Amazon store. Defendants

14    advertised and/or shipped products bearing counterfeit products to consumers in Washington.

15    Each of the Defendants committed, or facilitated the commission of, tortious acts in

16    Washington and has wrongfully caused Amazon substantial injury in Washington.

17           26.     In addition, the Seller Defendants have consented to the jurisdiction of this

18    Court by agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which

19    provides that the “Governing Courts” for claims to enjoin infringement or misuse of intellectual

20    property rights are state or federal courts located in King County, Washington.

21           27.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

22    substantial part of the events giving rise to the claims occurred in the Western District of

23    Washington.

24           28.     Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle

25    Division is proper because the claims arose in this Division, where (a) Amazon resides,

26    (b) injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

27

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                                                 V. FACTS
 1
             A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods
 2
             29.     Amazon works hard to build and protect the reputation of its store as a place
 3
      where customers can conveniently select from a wide array of authentic goods and services at
 4
      competitive prices. Amazon invests a vast amount of resources to ensure that when customers
 5
      make purchases through the Amazon store—either directly from Amazon or from one of its
 6
      millions of third-party sellers—customers receive authentic products made by the true
 7
      manufacturer of those products.
 8
             30.     A small number of bad actors seeks to take advantage of the trust customers
 9
      place in Amazon by attempting to create Amazon Selling Accounts to advertise, market, offer,
10
      and sell counterfeit products. These bad actors seek to misuse and infringe the trademarks and
11
      other IP of the true manufacturers of those products to deceive Amazon and its customers. This
12
      unlawful and expressly prohibited conduct undermines the trust that customers, sellers, and
13
      manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation, thereby causing
14
      irreparable harm to Amazon.
15
             31.     Amazon prohibits the sale of inauthentic and fraudulent products and is
16
      constantly innovating on behalf of customers and working with brands, manufacturers, rights
17
      owners, and others to improve the detection of counterfeit products and prevention of
18
      counterfeit products ever being offered to customers through the Amazon store. Amazon
19
      employs dedicated teams of software engineers, research scientists, program managers, and
20
      investigators to prevent counterfeits from being offered in the Amazon store. Amazon’s
21
      systems automatically and continuously scan thousands of data points to detect and remove
22
      counterfeits from its store and to terminate the Selling Accounts of bad actors before they can
23
      offer counterfeit products. Each week Amazon monitors more than 45 million pieces of
24
      feedback it receives from customers, rights owners, regulators, and selling partners. When
25
      Amazon identifies issues based on this feedback, it takes action to address them. Amazon also
26
      uses this intelligence to improve its proactive prevention controls.
27

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 1           32.      In 2017, Amazon launched the Amazon Brand Registry, a free service to any

 2    rights owner with a government-registered trademark, regardless of the brand’s relationship

 3    with Amazon. Brand Registry delivers automated brand protections that use machine learning

 4    to predict infringement and proactively protect brands’ IP. Brand Registry also provides a

 5    powerful Report a Violation Tool that allows brands to search for and accurately report

 6    potentially infringing products using state‐of-the‐art image search technology. More than

 7    350,000 brands are enrolled in Brand Registry, and those brands are finding and reporting 99%

 8    fewer suspected infringements since joining Brand Registry.

 9           33.      In 2018, Amazon launched Transparency, a product serialization service that

10    effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can

11    apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

12    law enforcement, and customers to determine the authenticity of any Transparency-enabled

13    product, regardless of where the product was purchased. Since Transparency’s launch in 2018,

14    over 10,000 brands have enrolled, protecting brands and customers from counterfeits being sold

15    in the Amazon store.

16           34.      In 2019, Amazon launched Amazon Project Zero, a program to empower brands

17    to help Amazon drive counterfeits to zero. Amazon Project Zero introduced a novel self-

18    service counterfeit removal tool that enables brands to remove counterfeit listings directly from

19    the Amazon store. This enables brands to take down counterfeit product offerings on their own

20    within minutes. Since the program launched in 2019, over 10,000 brands have enrolled.

21           35.      In addition to these measures, Amazon actively cooperates with rights owners

22    and law enforcement to identify and prosecute bad actors suspected of engaging in illegal

23    activity. Lawsuits, like this one, are integral components of Amazon’s efforts to combat

24    counterfeits.

25

26

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             B.      Seller Defendants Created Amazon Selling Accounts and Agreed Not to Sell
 1                   Counterfeit Goods
 2           36.     The Seller Defendants controlled and operated the Amazon Selling Accounts

 3    detailed in section D & H below through which they sought to advertise, market, sell, and

 4    distribute counterfeit products. In connection with these Selling Accounts, the Seller

 5    Defendants provided names, email addresses, and banking information for each account.

 6           37.     To become a selling partner in the Amazon store, sellers are required to agree to

 7    the Amazon Business Solutions Agreement (BSA), which governs the applicant’s access to and

 8    use of Amazon’s services and states Amazon’s rules for selling through the website. By

 9    entering into the BSA, each seller represents and warrants that it “will comply with all

10    applicable laws in [the] performance of [its] obligations and exercise of [its] rights” under the

11    BSA. A true and correct copy of the applicable version of the BSA, namely, the version when

12    Seller Defendants last used Amazon’s Services, is attached as Exhibit A.

13           38.     The BSA incorporates and sellers therefore agree to be bound by Amazon’s

14    Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit B. The Anti-

15    Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon store:

16                      The sale of counterfeit products is strictly prohibited.
17                      You may not sell any products that are not legal for sale, such as products
                         that have been illegally replicated, reproduced, or manufactured[.]
18
                        You must provide records about the authenticity of your products if Amazon
19                       requests that documentation[.]
20                   Failure to abide by this policy may result in loss of selling privileges, funds
                     being withheld, destruction of inventory in our fulfilment centers, and other
21                   legal consequences.
22           39.     Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment

23    to preventing the sale and distribution of counterfeit goods in the Amazon store together with

24    the consequences of doing so:

25                      Sell Only Authentic and Legal Products. It is your
                         responsibility to source, sell, and fulfill only authentic
26
                         products that are legal for sale. Examples of prohibited
27                       products include:

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                      o Bootlegs, fakes, or pirated copies of products or content
 1
                      o Products that have been illegally replicated, reproduced,
 2                      or manufactured
 3
                      o Products that infringe another party’s intellectual property
 4                      rights

 5                   Maintain and Provide Inventory Records. Amazon may
                      request that you provide documentation (such as invoices)
 6                    showing the authenticity of your products or your
                      authorization to list them for sale. You may remove pricing
 7
                      information from these documents, but providing documents
 8                    that have been edited in any other way or that are misleading
                      is a violation of this policy and will lead to enforcement
 9                    against your account.
10                   Consequences of Selling Inauthentic Products. If you sell
                      inauthentic products, we may immediately suspend or
11
                      terminate your Amazon selling account (and any related
12                    accounts), destroy any inauthentic products in our fulfillment
                      centers at your expense, and/or withhold payments to you.
13
                     Amazon Takes Action to Protect Customers and Rights
14                    Owners. Amazon also works with manufacturers, rights
                      holders, content owners, vendors, and sellers to improve the
15
                      ways we detect and prevent inauthentic products from
16                    reaching our customers. As a result of our detection and
                      enforcement activities, Amazon may:
17
                      o Remove suspect listings.
18
                      o Take legal action against parties who knowingly violate
19                      this policy and harm our customers. In addition to
                        criminal fines and imprisonment, sellers and suppliers of
20
                        inauthentic products may face civil penalties including the
21                      loss of any amounts received from the sale of inauthentic
                        products, the damage or harm sustained by the rights
22                      holders, statutory and other damages, and attorney’s fees.
23                   Reporting Inauthentic Products. We stand behind the products
                      sold on our site with our A-to-z Guarantee, and we encourage
24
                      rights owners who have product authenticity concerns to
25                    notify us. We will promptly investigate and take all
                      appropriate actions to protect customers, sellers, and rights
26                    holders. You may view counterfeit complaints on the
                      Account Health page in Seller Central.
27

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 1               40.     When they registered as sellers in the Amazon store, and established their

 2    Selling Accounts, Seller Defendants agreed not to advertise, market, offer, sell, or distribute

 3    counterfeit products.

 4               C.      Defendant Kelly Fitzpatrick Advertised, Promoted, and Facilitated Sales of
                         Sellers’ Counterfeit Products.
 5
                 41.     Fitzpatrick is very active on social media and attempts to monetize her presence
 6
      by promoting counterfeit products. Fitzpatrick’s social media accounts are entitled
 7
      “Styleeandgrace” or other iterations or variations on that name, such as “Gracefullystylish.”
 8
      Fitzpatrick uses an array of social media websites and apps to advertise counterfeit products,
 9
      including Instagram, TikTok, Facebook, Twitter, and the website liketoknow.it. She also
10
      created her own website, Styleeandgrace.com, to promote counterfeit luxury products. On
11
      these websites, Fitzpatrick posts photos and videos of counterfeit products, highlighting their
12
      false designation of origin – indeed, in one video promoting a counterfeit Gucci belt, she
13
      celebrated a false “Made in Italy” designation of origin.5 For products sold on Amazon,
14
      Fitzpatrick then provides a link to an Amazon store order page where the counterfeit product
15
      can be ordered (although the product is often disguised on the order page as a non-infringing
16
      product).
17
                 42.     Amazon’s Associate Program works with legitimate social media influencers
18
      such as content creators, publishers, and bloggers and helps them monetize their traffic by
19
      earning fees for sharing Amazon products with their followers. Amazon Associates are
20
      prohibited from advertising or promoting products that violate the intellectual property rights of
21
      others.
22
                 43.     On November 23, 2019, Fitzpatrick joined the Amazon Associates program with
23
      the username Kellyfitzpa02-20.
24
                 44.     On March 6, 2020, Amazon warned Fitzpatrick that she had been advertising
25
      counterfeit products in violation of the Amazon Associates program.
26

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          https://www.styleeandgrace.com/video-review-gg-large-pearl-belt-amazon-finds/
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 1           45.     On March 7, 2020, after receiving additional evidence of Fitzpatrick’s

 2    promotion of counterfeit products, Amazon closed Fitzpatrick’s Kellyfitzpa02-20 Associate

 3    account.

 4           46.     Upon information and belief, in April and May 2020, Fitzpatrick attempted to

 5    open at least two other Associate accounts, kellyfitz-20 and budgetstylefi-20, and worked with

 6    Kelly-Krejci to open at least one of those accounts.

 7           47.     Amazon closed these two Associate accounts based on their relationship with

 8    Fitzpatrick.

 9           48.     Even after Fitzpatrick was blocked from participating in the Amazon Associates

10    program, she continued to use her social media websites and apps to advertise counterfeit

11    products in the Amazon store. On information and belief, Fitzpatrick was paid directly by

12    Seller Defendants for her promotions.

13           49.     For example, from April through at least July 2020, Fitzpatrick used her

14    Instagram @Styleeandgrace to advertise counterfeit products sold on Amazon.com.

15           50.     As shown in the test purchases below, Fitzpatrick deceived Amazon and its

16    customers by working with Seller Defendants to remove indicia of infringement from the

17    Amazon offer listing page in order to evade Amazon’s fraud and counterfeit detection tools.

18    Because the offer listing pages displayed general, non-infringing products without any brand or

19    trademark identification, only Fitzpatrick’s followers knew that the products for sale were

20    counterfeits based upon Fitzpatrick’s explicit instruction and links. Any customers who wanted

21    to order the non-infringing item that was listed in Amazon’s store, such as the plain black belt

22    and wallet described below, would have received a different product from what they were

23    expecting.

24           51.     On July 27, 2020, Fitzpatrick admitted on her Instagram page that she

25    communicates directly with the Amazon sellers she promotes, in the context of describing her

26    relationship with a non-Amazon seller: “Please know that I am not in contact with these sellers

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 1    and cannot help you with returns like I do with the sellers on amazon and Instagram.”

 2    (Emphasis added.)

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              52.    On July 27, 2020, on information and belief, Instagram took down Fitzpatrick’s
12
      @Styleeandgrace account.
13
              53. Thereafter, on July 31, 2020, Fitzpatrick created a new Instagram account under the
14
      name @Gracefullystylish to advertise counterfeit products sold on Amazon. Although
15
      Fitzpatrick futilely tried to distance herself from illicit counterfeiting activity by describing
16
      herself as, “Not a seller, I just review,” she immediately posted a link to counterfeit products
17
      under “Shop my favorites here.”
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              54.    On August 10, 2020, Instagram took down Fitzpatrick’s @Gracefullystylish
24
      page.
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              55.    One day later, on August 11, 2020, Fitzpatrick created yet another Instagram
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      account, @styleeandgrace11, and launched her own website, Styleeandgrace.com. On this
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 1    personal website, Fitzpatrick celebrates “the world of dupes,” her term for the illegal

 2    counterfeits that she promotes and advertises, and gloats about how she personally sources the

 3    supply of counterfeit products sold through deceptive tactics on Amazon. For example, in this

 4    post advertising a counterfeit Gucci belt, she admits that it was “the very first item [she]

 5    requested a seller on Amazon to stock”:6

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12               56.     Fitzpatrick also used additional social media websites and apps to advertise
13    counterfeit products, including Facebook, TikTok, and liketoknow.it.
14               D.      Test Purchases of Counterfeit Products Advertised by Defendant
                         Fitzpatrick and Sold by Defendant Sellers.
15
                 57.     Defendants advertised, marketed, offered, and/or sold counterfeit products as
16
      genuine luxury products on Amazon.
17
                 Test Purchase # 1: Counterfeit Gucci Belt Sold by SevenStar
18
                 58.     On July 14, 2020, while monitoring Fitzpatrick’s @Styleeandgrace Instagram
19
      account, an investigator retained by Amazon saw the below post about a counterfeit Gucci belt.
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          https://www.styleeandgrace.com/video-review-gg-large-pearl-belt-amazon-finds/
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             59.    The investigator swiped up on the post and followed the link to the below
13
      Amazon page (which displayed a photo of a belt without the Gucci logo), where the
14
      investigator placed an order from Seller Defendant SevenStar.
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 1               60.     On July 20, 2020, the investigator’s purchase arrived. Below is a photo of the

 2    product received.

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 9               61.     The product received by the investigator is a counterfeit version of Gucci’s $470

10    Wide leather belt with Gucci’s trademarked “GG” logo buckle. The counterfeit product is

11    made to imitate the authentic product, including a logo that is identical to, or substantially

12    indistinguishable from, Gucci’s registered trademark.7 An image of the authentic product is

13    below.

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21               Test Purchase # 2: Counterfeit Gucci/Disney Wallet Sold by Lwenstore

22               62.     On July 15, 2020, while monitoring Fitzpatrick’s Styleeandgrace Instagram

23    account, an investigator saw the below post about a small Gucci Mickey wallet.

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27    7
          See GG trademark (Trademark Registration No. 5073022) (covering belts).
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12           63.    The investigator swiped up on the link, which led to the below page in the

13    Amazon store (which contained a photo of a wallet without branding), where the investigator

14    placed an order from Seller Defendant Lwenstore.

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26           64.    Below is a photo of the product received.

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 7               65.     The product received by the investigator is a counterfeit version of Gucci’s $650

 8    Disney zip around wallet. The counterfeit product is made to imitate the authentic product,

 9    including a logo that is identical to, or substantially indistinguishable from, Gucci’s registered

10    trademark.8 An image of the authentic product is below.

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                Test Purchase # 3: Counterfeit Gucci Purse Sold by Gam Sports
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                 66.     On July 19, 2020, while monitoring Fitzpatrick’s @Styleeandgrace Instagram
21
      account, an investigator saw the below post about a counterfeit Gucci tote bag. In her post,
22
      Fitzpatrick referred to the product as a “dupe.” Fitzpatrick also exhorted her followers to
23
      “order this/get this.”
24

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27    8
          See GG Trademark (Trademark Registration No. 4411217) (covering small leather goods).
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             67.    The investigator swiped up and followed the link to the below page in the
11
      Amazon store (which contained a photo of a purse without any logo), where the investigator
12
      placed an order from Seller Defendant Gam Sports.
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             68.    On August 6, 2020, the investigator’s purchase arrived. Below is a photo of the
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      product received.
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 9              69.      The product received by the investigator is a counterfeit version of Gucci’s

10    $1,980 GG Marmont matelassé medium shoulder bag. The counterfeit product is made to

11    imitate the authentic product, including a logo that is identical to, or substantially

12    indistinguishable from, Gucci’s registered trademark.9 An image of the authentic product is

13    below.

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21             Test Purchase # 4: Counterfeit Gucci/Disney Wallet Sold by Kalosuha
22              70.      On August 1, 2020, while monitoring Fitzpatrick’s @GracefullyStylish
23    Instagram account, an investigator saw the below post about a counterfeit Gucci and Disney
24    branded wallet. In her post, Fitzpatrick refers to the product as under a “hidden link.”
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27    9
          See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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             71.    The investigator swiped up and followed the link to the below page in the
13
      Amazon store (which contained a photo of a wallet without branding) where the investigator
14
      placed an order from Seller Defendant Kalosuha.
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 1               72.     On August 17, 2020, the investigator’s purchase arrived. Below are photos of

 2    the product received.

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12               73.     The product received by the investigator is a counterfeit version of Gucci’s $590

13    GG Small Mickey Wallet. The counterfeit product is made to imitate the authentic product,

14    including a logo that is identical to, or substantially indistinguishable from, Gucci’s registered

15    trademark.10 An image of the authentic product is below.

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27    10
           See GG Trademark (Trademark Registration No. 4411217) (covering small leather goods).
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 1           Test Purchase # 5: Counterfeit Gucci Belt Bag Sold by Kalosuha

 2           74.     On August 5, 2020, while monitoring Fitzpatrick’s @GracefullyStylish

 3    Instagram account, an investigator saw the below post about a counterfeit Gucci belt bag. In

 4    her post, Fitzpatrick says “Order this and get GG belt bag!”

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17           75.     The investigator swiped up and followed the link to the below Amazon page

18    (which contained a picture of a belt bag without any branding), where the investigator placed

19    an order from Kalosuha.

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 1               76.     On August 31, 2020, the investigator’s purchase arrived. Below are photos of

 2    the product received.

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10               77.     The product received by the investigator is a counterfeit version of Gucci’s
11    $1,200 GG Marmont matelassé leather belt bag. The counterfeit product is made to imitate the
12    authentic product, including a logo that is identical to, or substantially indistinguishable from,
13    Gucci’s registered trademark.11 An image of the authentic product is below.
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                 Test Purchase # 6: Counterfeit Gucci Purse Sold by Bradyyer
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                 78.     On August 6, 2020, while monitoring Fitzpatrick’s @GracefullyStylish
21
      Instagram account, an investigator saw the below post about a counterfeit Gucci Neo Vintage
22
      GG Supreme Bag. In her post, Fitzpatrick refers to the product as “hidden link.”
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27    11
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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             79.    The investigator swiped up and followed the link to the below page in the
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     Amazon store (which contained a photo of a bag without branding), where the investigator
15
     placed an order from Seller Defendant Bradyyer.
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23           80.    On August 26, 2020, the investigator’s purchase arrived. Below is a photo of
24    the product received.
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                 81.     The product received by the investigator is a counterfeit version of Gucci’s $980
 9
      Neo Vintage GG Supreme messenger bag. The counterfeit product is made to imitate the
10
      authentic product, including a logo that is identical to, or substantially indistinguishable from,
11
      Gucci’s registered trademark.12 An image of the authentic product is below.
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                Test Purchase # 7: Counterfeit Gucci Purse Sold by Bradyyer
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                82.      On August 14, 2020, while monitoring Fitzpatrick’s Styleandgrace.com site, an
22
      investigator saw the below post about counterfeit Gucci Marmont bag.
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27    12
           See GG Trademark (Trademark Registration No. 4229081) (covering handbags).
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 8           83.    The investigator followed the link to the below page in the Amazon store (which

 9   contained a photo of a bag without branding/logo), where the investigator placed an order from

10   Seller Defendant Bradyyer.

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19           84.    On September 8, 2020, the investigator’s purchase arrived. Below is a photo of

20    the product received.

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 1               85.     The product received by the investigator is a counterfeit version of Gucci’s

 2    $2,100 GG Marmont small matelassé leather shoulder bag. The counterfeit product is made to

 3    imitate the authentic product, including a logo that is identical to, or substantially

 4    indistinguishable from, Gucci’s registered trademark.13 An image of the authentic product is

 5    below.

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11              Test Purchase # 8: Counterfeit Gucci Sunglasses Sold by Bradyyer

12               86.     On August 14, 2020, while monitoring Fitzpatrick’s Styleandgrace.com site, an

13    investigator saw the below post about counterfeit Gucci Sunglasses.

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21               87.     The investigator followed the link to the below page in the Amazon store (which

22   contained a photo of sunglasses without any logo), where the investigator placed an order from

23   Seller Defendant Bradyyer.

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27    13
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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 9           88.    On September 8, 2020, the investigator’s purchase arrived. Below is a photo of
10    the product received.
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 1               89.     The product received by the investigator is a counterfeit version of Gucci’s $405

 2    sunglasses. The counterfeit product is made to imitate the authentic product, including a logo

 3    that is identical to, or substantially indistinguishable from, Gucci’s registered trademark.14 An

 4    image of the authentic product is below.

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12               Test Purchase # 9: Counterfeit Dior Purse Sold by Gogo Trendy

13               90.     On July 17, 2020, while monitoring Fitzpatrick’s @Styleeandgrace Instagram

14    account, an investigator saw the below post about a counterfeit Dior purse.

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27    14
           See GG Trademark (Trademark Registration No. 4567127) (covering eyewear).
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 1               91.     The investigator swiped up on the post and followed the link to the below

 2    Amazon page (which displayed a photo of a handbag without the Dior branded charm) where

 3    the investigator placed an order from Seller Defendant Gogo Trendy.

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                 92.     On July 23, 2020, the investigator’s purchase arrived. Below are photos of the
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      product received.
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                 93.     As shown above, the purchased product contained the counterfeit DIOR logo on
23
      the purse charm. The counterfeit product is made to imitate the authentic product, including a
24
      logo that is identical to, or substantially indistinguishable from, the Dior registered trademark.15
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27    15
           See Dior Trademark (Trademark Registration No. 74522863) (covering charms and purses).
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 1          Test Purchase # 10: Counterfeit Dior Bracelet Sold by Myerh Store

 2           94.     On July 17, 2020, while monitoring Fitzpatrick’s @Styleeandgrace Instagram

 3    account, an investigator saw the below post about a counterfeit Dior bracelet. In her post,

 4    Fitzpatrick urged her followers to “order this” [generic bracelet] in order to “GET THE

 5    DUPE!”:

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             95.     The investigator swiped up and followed the link to the below page in the
19
      Amazon store (which contained a photo of a women’s bracelet without branding), where the
20
      investigator placed an order from Seller Defendant Myerh Store.
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                 96.     On August 5, 2020, the investigator’s purchase arrived. Below is a photo of the
 9
      product received.
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18               97.     The product received by the investigator is a counterfeit version of Dior’s $420
19    J’ADIOR bracelet set. The counterfeit product is made to imitate the authentic product,
20    including a logo that is identical to, or substantially indistinguishable from, the Dior registered
21    trademark. An image of the authentic product is below.16
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27    16
           See Dior Trademark (Trademark Registration Nos. 0519367 and 79214192) (covering bracelets).
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             Test Purchase # 11: Counterfeit Dior Bracelet Sold by Bradyyer
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             98.     On August 13, 2020, while monitoring Fitzpatrick’s Styleeandgrace.com
 8
      website, an investigator saw the below post about another counterfeit Dior friendship bracelet.
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 1             99.      The investigator found a “hidden link” on the website’s Linktree17 which led to

 2    the below page in the Amazon store (which contained a photo of a women’s bracelet without

 3    branding), where the investigator placed an order from Seller Defendant Bradyyer.

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12             100.     Below is a photo of the product received.

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21           101.       The product received by the investigator is a counterfeit version of Dior’s $420

22    J’ADIOR bracelet set. The counterfeit product is made to imitate the authentic product,

23    including a logo that is identical to, or substantially indistinguishable from, the Dior registered

24    trademark.18 An image of the authentic product is below.

25

26    17
         A Linktree allows users to create customizable pages with all of the important links they want to promote in one
27    place.
      18
         See Dior Trademark (Trademark Registration Nos. 0519367 and 79214192) (covering bracelets).
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 7           Test Purchase # 12: Counterfeit Dior Purse Sold by Winjoy Mall
 8           102.    On July 16, 2020, while monitoring Fitzpatrick’s @Styleeandgrace Instagram
 9    account, an investigator saw the below post about a counterfeit Dior rivet bag.
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24           103.    The investigator swiped up and followed the link to the below page in the

25    Amazon store (which contained a photo of a bag without branding), where the investigator

26    placed an order from Seller Defendant Winjoy Mall.

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 9               104.    On September 26, 2020, the investigator’s purchase arrived. Below is a photo of

10    the product received.19

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18               105.    As shown above, the purchased product contained the counterfeit DIOR logo on

19    the charm. The counterfeit product is made to imitate the authentic product, including a logo

20    that is identical to, or substantially indistinguishable from, the Dior registered trademark. An

21    image of a handbag with an authentic DIOR charm is below:

22               E.      Fitzpatrick’s Close Relationship with Defendant Sellers

23               106.    Far from being a mere promoter of others’ counterfeit wares, Fitzpatrick boasts

24    about her close business relationship with the bad actors whose counterfeit sales she promotes

25    in the Amazon store. In one example, she described how she was able to help her followers

26    with returns from Amazon sales based on her personal relationship with the sellers, warning

27    19
           See Dior Trademark (Trademark Registration No. 74522863) (covering charms and purses).
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 1    potential buyers from a non-Amazon seller, “Please know that I am not in contact with these

 2    sellers and cannot help you with returns like I do with sellers on amazon and Instagram”

 3    (emphasis added). Fitzpatrick even describes how she directly requests specific counterfeit

 4    products from sellers, describing one counterfeit Gucci belt as “actually the very first item I

 5    requested a seller on amazon to stock!”20

 6               107.    Fitzpatrick currently resides in Islip, New York. Multiple counterfeit sellers on

 7    Amazon, including Seller Defendants Gogo Trendy and Bradyyer, have used Fitzpatrick’s

 8    home address as a registered address for their Amazon selling accounts.

 9               108.    In addition, the following Seller Defendants have listed a post office box address

10    in Islip, New York, located minutes from Fitzpatrick’s address, despite the fact that none of

11    these sellers are located in New York State, let alone the town of Islip: Kalosuha, Bradyyer,

12    Gogo Trendy, Myerh Store, Gam Sports, and Lwenstore.

13               109.    Some Defendant Sellers also appear to be closely related. For example, on

14    February 27, 2019, Lwenstore and Kalosuha both logged into their Amazon selling accounts

15    through the same IP address.

16               F.      Fitzpatrick Directs Her Followers to Different E-Commerce Sites After the
                         Counterfeit Products are Blocked from Sale in Amazon’s Store
17
                 110.    As detailed above, Amazon monitors Fitzpatrick’s public Internet activity and
18
      blocks infringing order pages and sellers to which she links. After Amazon shut down the
19
      Seller Defendants’ accounts, Fitzpatrick directed her followers to other e-commerce websites,
20
      where she has continued her campaign of infringement and complained about how Amazon’s
21
      anti-counterfeiting efforts have damaged her counterfeiting business. For example, in a post on
22
      Styleeandgrace.com on August 28, 2020, she wrote: “[N]ow as most of you know amazon [sic]
23
      has really cracked down on dupes … now they’re [sic] are barely any [dupes on Amazon] …
24
      they take the links down and refuse to give the [counterfeit] sellers a penny. Sadly, many
25

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27    20
           https://www.styleeandgrace.com/video-review-gg-large-pearl-belt-amazon-finds/
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 1    [counterfeit] sellers have gone bankrupt this way.”21 Fitzpatrick also incorrectly claimed that

 2    Amazon was allowing the infringing products to “sell out,” when in fact, sales had been

 3    blocked for violating Amazon’s anti-counterfeiting policy.

 4            111.     After explaining why she and the Seller Defendants are migrating some of their

 5    infringement activities away from Amazon, Fitzpatrick implored her followers to buy the

 6    counterfeits she now advertises and promotes on a different website, DH Gate: “Our very

 7    trusted seller of the last year has moved to DH Gate … I know it’s a big change to switch from

 8    Amazon to DH Gate but this guarantees that the links do not get reported and shut down

 9    sometimes cancelling our orders.”22 (Emphasis added.) She reminded her follows that she

10    uses “hidden links, so please follow the instructions above to ensure your [sic] ordering the

11    correct item!”23 The full text of Fitzpatrick’s post is below:

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              112.     On August 28, 2020, in a video post on Styleeandgrace.com titled “Video
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      Review: CC Wristlet Clutch Bag (Trusted DH Gate Seller – Previously on Amazon),”
24
      21
25       https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
      amazon/
      22
26       https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
      amazon/
      23
27       https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
      amazon/
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 1    Fitzpatrick again explicitly described her efforts to avoid enforcement and to ensure “links do

 2    not get reported.”24

 3            113.     A few days later, Fitzpatrick posted another video review on

 4    Styleeandgrace.com, titled “Off-White Colorful KeyChains (DH Gate Review (formerly our

 5    most trust Amazon seller)).” Fitzpatrick explained that the former Amazon seller “moved to

 6    DH GATE because amazon [sic] had cracked down so much on lookalikes!”25 She elaborated:

 7    “Our favorite from Amazon to avoid . . . you know . . . going bankrupt because they keep

 8    taking down all the Amazon links. And as you guys know, Amazon has rarely has [sic] any

 9    dupes lately and that’s because they’ve cracked down so hard.”

10            114.     After her ring of counterfeiters migrated from Amazon to other e-commerce

11    sites, Fitzpatrick became even bolder about her attempts to evade enforcement. For example,

12    in a video post on Styleeandgrace.com dated August 21, 2020, in which Fitzpatrick reviews a

13    counterfeit Dior Twilly that she purchased from the website Etsy, she instructed her viewers to

14    “definitely grab one before they are taken down off Etsy,” where she claimed that the sellers

15    “aren’t trying to hide it at all.”26 But despite this claim about sellers not “trying to hide,”

16    Fitzpatrick appears to be engaging in the same “order this/get this” modus operandi on Etsy.

17    Specifically, on August 1, 2020, while monitoring Fitzpatrick’s @GracefullyStylish Etsy

18    account, an investigator saw the below post about a counterfeit Gucci mini crossbody bag.

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      24
26       https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
      amazon/
      25
27       https://www.styleeandgrace.com/video-review-off-white-colorful-keychains/
      26
         https://www.styleeandgrace.com/video-review-dior-twilly-etsy-find/
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 9           115.   The investigator followed the link to the below Etsy page (which included a
10    picture of a bag without trademarks), where the investigator placed an order from
11    @Best_Bags_Boutique.
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             116.   On August 12, 2020, the investigator’s purchase arrived. Below is a photo of
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      the product received.
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                 117.    The product received by the investigator is a counterfeit version of Gucci’s
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      $1,750 Dionysus GG Supreme mini bag, shown below.27 Fitzpatrick’s ability to move her
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      counterfeiting from one e-commerce site to another shows how pernicious her activity really is,
11
      and how she is only likely to be stopped by way of the requested court order.
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                 G.      Defendant Kelly-Krejci Advertised, Promoted, and Facilitated Sales of
21                       Sellers’ Counterfeit Gucci Products.
                 118.    Fitzpatrick and Defendant Sabrina Kelly-Krejci are, by their own admission,
22
      close business associates in the world of counterfeit “dupes.” For example, in a video review
23
      on Styleeandgrace.com dated August 28, 2020, of a counterfeit item Fitzpatrick said that she
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27    27
           See GG Trademark (Trademark Registration No. 4411218) (covering handbags).
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 1    runs an “addicted to dupes” Facebook page with Kelly-Krejci.28 And Kelly-Krejci attempted to

 2    open an Amazon Associate account using Fitzpatrick’s home address.

 3            119.     Like Fitzpatrick, Kelly-Krejci’s business is promoting the sale of counterfeit

 4    luxury fashion items. Her social media accounts are named “BudgetStyleFile” or iterations of

 5    that same name (e.g., “BudgetStyleFile2”). And like Fitzpatrick, Kelly-Krejci uses an array of

 6    social media websites and apps, including TikTok, Facebook, and Instagram, to advertise

 7    counterfeit products. She also operates her own website, www.budgetstylefiles.com, to

 8    promote counterfeit fashion items. On these websites and apps, Kelly-Krejci posts photos and

 9    videos of counterfeit products, highlighting the areas that falsely designate origin, and then

10    provides a link to an Amazon store offer listing page where the counterfeit product can be

11    ordered (although the product is often disguised on the order page as a non-infringing product

12    by blurring the logos).

13            120.     Kelly-Krejci also shares Fitzpatrick’s use of hidden links to order counterfeit

14    products, even acknowledging how deceitful this practice is by stating that she “[…] know[s]

15    some people feel weird ordering from hidden links but in this case you will get something

16    fabulous.”29 Kelly-Krejci has also admitted that the bags she promotes are not just

17    “lookalikes,” but that the products actually have full logo/branding.

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23            121.     As shown in the test purchases below, Kelly-Krejci deceived Amazon by

24    working with the Seller Defendants to remove indicia of infringement from the Amazon offer

25    listing page in an effort to evade Amazon’s fraud and counterfeit detection tools. Because the

26    28
         https://www.styleeandgrace.com/video-review-cc-wristlet-clutch-bag-trusted-dh-gate-seller-previously-on-
27    amazon/
      29
         https://budgetstylefiles.com/review-cc-wristlet-ama-z0n/
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 1    offer listing pages displayed general, non-infringing products without any brand or trademark

 2    identification (and often with the infringing portion of the products blurred out), Kelly-Krejci’s

 3    followers could only identify the items were counterfeit products through Kelly-Krejci’s

 4    explicit instruction and links.

 5           122.    In early August 2020, on information and belief, Instagram took down Kelly-

 6    Krejci’s initial @BudgetStyleFiles page. Thereafter, on August 10, 2020, Kelly-Krejci’s

 7    created a new Instagram account entitled @BudgetStyleFiles2 to advertise and promote

 8    “disguised” sales of counterfeit products in the Amazon store. Kelly-Krejci made a veiled

 9    attempt to avoid liability for her blatant promotion of counterfeit products by stating: “Please

10    know that I mean no harm or ill intention. I just want to review items and share information.”

11    But this attempt to deny responsibility rang hollow, as almost immediately thereafter, Kelly-

12    Krejci posted an advertisement for a counterfeit Gucci bag and told her followers that

13    mentioning her Instagram handle to the sellers would earn them a discount.

14           123.    Like Fitzpatrick, Kelly-Krejci operates her own website where she reviews and

15    promotes counterfeit luxury items. As her Instagram account had previously been shut down,

16    Kelly-Krejci assures followers on her website: “Now in case anything happens you will know

17    where to find me.”

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             H.     Test Purchases of Counterfeit Products Advertised by Defendant Kelly-
16                  Krejci, Sold by Defendant Sellers in the Amazon Store.
17          Test Purchase # 13: Counterfeit Gucci Purse Sold by Keabie

18          124.    On September 8, 2020, while monitoring Kelly-Krejci’s Budgetstylefiles.com

19    site, an investigator saw the below post about a counterfeit Gucci Camera Bag.

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             125.   The investigator followed the link to the below page in the Amazon store (which
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     contained a photo of a bag with blurred out markings), where the investigator placed an order
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     from Seller Defendant Keabie.
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22           126.   On August 26, 2020, the investigator’s purchase arrived. Below is a photo of
23    the product received.
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                 127.    The product received by the investigator is a counterfeit version of Gucci’s
 7
      $1,290 GG Marmont small matelassé shoulder bag. An image of the authentic product is
 8
      below.30
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                Test Purchase # 14: Counterfeit Gucci Purse Sold by Keabie
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                 128.    On September 8, 2020, while monitoring Kelly-Krejci’s Budgetstylefiles.com
21
      site, an investigator saw the below Linktree advertising a “G*G Fanny Pack.”
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27    30
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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             129.   The investigator followed the link to the below page in the Amazon store (which
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     contained a photo of a bag with blurred out markings), where the investigator placed an order
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     from Seller Defendant Keabie.
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26           130.   On September 8, 2020, the investigator’s purchase arrived. Below is a photo of
27    the product received.
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                 131.    The product received by the investigator is a counterfeit version of Gucci’s
 7
      $1,200 GG Marmont small matelassé leather belt bag. An image of the authentic product is
 8
      below.31
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                 Test Purchase # 15: Counterfeit Gucci Camera Bag Sold by BIIKII
15
                 132.    On September 9, 2020, while monitoring Kelly-Krejci’s Budgetstylefiles.com
16
      site, an investigator saw the below post about a counterfeit Gucci camera bag.
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27    31
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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             133.    The investigator followed the link to the below page in the Amazon store (which
13
      did not contained a photo of the product), where the investigator placed an order from Seller
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      Defendant BIIKII.
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24           134.    On September 25, 2020, the investigator’s purchase arrived. Below are photos

25    of the product received, which bore Gucci’s logo.

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 6               135.    The product received by the investigator is a counterfeit version of Gucci’s

 7    $1,390 Marmont small matelassé bag. An image of the authentic product is below.32

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                 Test Purchase # 16: Counterfeit Gucci Fanny Pack by BIIKII
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                 136.    On September 9, 2020, while monitoring Kelly-Krejci’s Budgetstylefiles.com
16
      site, an investigator saw the below post about a counterfeit Gucci fanny pack.
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27    32
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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             137.    The investigator followed the link to the below page in the Amazon store (which
13
      did not contained a photo of the product), where the investigator placed an order from Seller
14
      Defendant BIIKII.
15

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             138.    On September 9, 2020, the investigator’s purchase arrived. Below are photos of
23
      the product received, which bore Gucci’s logo.
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 5               139.    The product received by the investigator is a counterfeit version of Gucci’s

 6    $1,200 Marmont matelassé belt bag. An image of the authentic product is below.33

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15               Test Purchase # 17: Counterfeit Dior Lambskin Flap Bag by GbeeGbee

16               140.    On September 9, 2020, while monitoring Kelly-Krejci’s Budgetstylefiles.com

17    site, an investigator saw the below post about a counterfeit Dior Flap bag.

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27    33
           See GG Trademark (Trademark Registration No. 5073022) (covering handbags).
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14           141.    The investigator followed the link to the below page in the Amazon store (which

15    did not contained a photo of the product), where the investigator placed an order from Seller

16    Defendant GbeeGbee.

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24           142.    On September 25 2020, the investigator’s purchase arrived. Below is a photo of
25    the product received, which bore Dior’s registered logo.
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 7               143.    The product received by the investigator is a counterfeit version of Dior’s

 8    $1,300 Lambskin Flap Bag. An image of the authentic product is below.34

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                 I.      Amazon Shut Down Seller Defendants’ Accounts.
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                 144.    Defendants advertised and facilitated the sale of counterfeit products. In doing
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      so, Defendants falsely represented to Amazon and its customers the true nature of the products
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      that the Seller Defendants sold were generic items. However, customers were actually
21
      purchasing counterfeit luxury branded items. Defendants also knowingly and willfully
22
      designated false origin of products in connection with the advertisement, marketing,
23
      distribution, offering for sale, and sale of counterfeit products.
24
                 145.    At all times, Seller Defendants knew they were prohibited from violating third-
25
      party IP rights or any applicable laws while selling products to Amazon. Defendants have
26

27    34
           See Dior Trademark (Trademark Registration No. 74522863) (covering purses).
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 1    deceived Amazon’s customers and Amazon and harmed the integrity of and customer trust in

 2    the Amazon store.

 3           146.    Amazon confirmed Seller Defendants’ unlawful sale of counterfeit products and

 4    promptly blocked Seller Defendants’ Selling Accounts. In doing so, Amazon exercised its

 5    rights under the BSA to protect its customers and its own brand.

 6                                           VI. CLAIMS
                                            FIRST CLAIM
 7                                     (against all Defendants)
                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
 8
             147.    Plaintiff Amazon incorporates by reference the allegations of the preceding
 9
      paragraphs as though set forth herein.
10
             148.    Amazon’s reputation for trustworthiness is at the heart of its relationship with
11
      customers. Defendants’ actions in advertising and selling counterfeits in the Amazon store
12
      pose a threat to Amazon’s reputation because they undermine and jeopardize customer trust in
13
      the Amazon store.
14
             149.    Specifically, Defendants deceived Amazon and its customers about the
15
      authenticity of the products they were advertising, marketing, offering, and/or selling in the
16
      Amazon store, in direct and willful violation of the Amazon’s Anti-Counterfeiting Policies and,
17
      in the case of the Seller Defendants, the BSA they were party to. The Seller Defendants’
18
      deceptive acts were material to Amazon’s decision to allow the Seller Defendants to sell their
19
      products in the Amazon store because Amazon would not have allowed the Seller Defendants
20
      to do so but for their deceptive acts. Fitzpatrick and Kelly-Krejci, in turn, deceived Amazon by
21
      explicitly directing their followers to purchase counterfeit products in the Amazon store that
22
      were disguised on the order page as non-infringing products in an attempt to evade Amazon’s
23
      fraud detection systems.
24
             150.    In advertising, marketing, offering, and/or selling counterfeit products in the
25
      Amazon store, Defendants made false and misleading statements of fact about the origin,
26
      sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).
27

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 1           151.    Defendants’ acts also constitute willful false statements in connection with

 2    goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

 3    § 1125(a)(1)(B).

 4           152.    As described above, Defendants, through their illegal acts, have willfully

 5    deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

 6    store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.

 7    Defendants’ misconduct has also caused Amazon to expend significant resources to investigate

 8    and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from

 9    causing further harm to Amazon and its customers. Defendants’ illegal acts have caused

10    irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to

11    the extent that Defendants continue to establish selling accounts under different or false

12    identities. An award of monetary damages alone cannot fully compensate Amazon for its

13    injuries, and thus Amazon lacks an adequate remedy at law.

14           153.    Amazon is entitled to an injunction against Defendants, their officers, agents,

15    representatives, servants, employees, successors and assigns, and all other persons in active

16    concert or participation with them, as set forth in the Prayer for Relief below, along with its

17    attorneys’ fees and costs in bringing this lawsuit.

18                                      SECOND CLAIM
                  (against Defendants Kelly Fitzpatrick and Sabrina Kelly-Krejci)
19      Contributory False Designation of Origin and False Advertising – 15 U.S.C. § 1125(A)
20         154.      Amazon incorporates by reference the allegations of the preceding paragraphs as

21    though set forth herein.

22         155.      In addition to being directly liable for false designation of origin and false

23    advertising, Fitzpatrick and Kelly-Krejci are also liable for contributory false designation of

24    origin and false advertising for their knowing facilitation and assistance in the sale of

25    counterfeits by the Seller Defendants. In particular, Fitzpatrick and Kelly-Krejci used their

26    social media websites and apps to knowingly promote and advertise to their followers the

27    counterfeit products offered by the Seller Defendants.

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 1           156.    Fitzpatrick and Kelly-Krejci’s actions were designed to encourage and facilitate

 2    the sale of products by the Seller Defendants that Fitzpatrick and Kelly-Krejci knew or should

 3    have known were counterfeit and that were likely to lead to consumer confusion about the

 4    source or sponsorship of the goods. As set forth in this Complaint, Fitzpatrick repeatedly

 5    directed and instructed her social media followers on how to purchase infringing products in

 6    the Amazon store, directing them that if they “buy this” (referencing a non-branded product on

 7    the order page in the Amazon store) they would “get this” (referencing a counterfeit product).

 8    Similarly, Kelly-Krejci directed followers to so-called “hidden links” to the Amazon store

 9    where the logos of counterfeit products were “blurred” out on the order page. Fitzpatrick and

10    Kelly-Krejci’s actions were designed to conceal the sale of counterfeit products in the Amazon

11    store, in an effort to deceive Amazon and evade Amazon’s anti-counterfeit detection systems.

12           157.    As described above, Fitzpatrick and Kelly-Krejci, through their illegal acts, have

13    jeopardized the trust that customers place in the Amazon store, tarnished Amazon’s brand and

14    reputation and goodwill, and harmed Amazon and its customers. Fitzpatrick and Kelly-Krejci’s

15    misconduct has also caused Amazon to expend significant resources to investigate and combat

16    Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from causing further

17    harm to Amazon and its customers. Fitzpatrick and Kelly-Krejci’s illegal acts have caused

18    irreparable injury to Amazon and, on information and belief, that injury is ongoing to the extent

19    that Fitzpatrick and Kelly-Krejci continue to advertise and actively facilitate the sale of

20    counterfeit products in the Amazon store. An award of monetary damages alone cannot fully

21    compensate Amazon for its injuries, and thus Amazon lacks an adequate remedy at law.

22           158.    Amazon is entitled to an injunction against Fitzpatrick and Kelly-Krejci, their

23    officers, agents, representatives, servants, employees, successors and assigns, and all other

24    persons in active concert or participation with them, as set forth in the Prayer for Relief below,

25    along with its attorneys’ fees and costs in bringing this lawsuit.

26           159.    Amazon is further entitled to recover Fitzpatrick and Kelly-Krejci’s profits, and

27    Amazon’s costs to investigate and remediate Fitzpatrick and Kelly-Krejci’s wrongful conduct

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 1    and bring this action, including its attorney’s fees, in an amount to be determined. Amazon is

 2    also entitled to the trebling of any damages award as allowed by law.

 3                                       THIRD CLAIM
                                      (against all Defendants)
 4            Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
 5           160.    Amazon incorporates by reference the allegations of the preceding paragraphs as

 6    though set forth herein.

 7           161.    Defendants’ advertising, marketing, offering, and/or selling of counterfeit

 8    products in the Amazon store constitute an unfair method of competition and unfair and

 9    deceptive acts or practices in the conduct of trade or commerce, in violation of

10    RCW 19.86.020.

11           162.    Defendants’ advertising, marketing, offering, and/or selling of counterfeit

12    products in the Amazon store harms the public interest by deceiving customers about the

13    authenticity, origins, and sponsorship of the products.

14           163.    Defendants’ advertising, marketing, offering, and/or selling of counterfeit

15    products in the Amazon store directly and proximately causes harm to and tarnished Amazon’s

16    reputation and brand, and damages its business and property interests and rights.

17           164.    Accordingly, Amazon seeks to enjoin further violations of RCW 19.86.020 and

18    recover its attorneys’ fees and costs. Amazon further seeks to recover its actual damages,

19    trebled, against Fitzpatrick and Kelly-Krejci.

20                                   VII.    PRAYER FOR RELIEF
21           WHEREFORE, Amazon respectfully prays for the following relief:

22           A.      That the Court issue an order permanently enjoining Defendants, their officers,

23    agents, representatives, servants, employees, successors, and assigns, and all others in active

24    concert or participation with them, from:

25                   (i)     Advertising or promoting products in the Amazon store or linking to

26                           products in the Amazon store;

27                   (ii)    selling products in the Amazon store;

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 1                   (iii)   selling products to Amazon or any Amazon affiliate;

 2                   (iv)    opening or attempting to open any Amazon Vendor, Selling, or

 3                           Associate Accounts;

 4                   (v)     assisting, aiding or abetting any other person or business entity in

 5                           engaging or performing any of the activities referred to in subparagraphs

 6                           (i) through (iv) above;

 7           B.      That the Court enter judgment in Amazon’s favor on all claims brought by them;

 8           C.      That the Court enter an order requiring Fitzpatrick and Kelly-Krejci to provide

 9    Amazon a full and complete accounting of all amounts due and owing to Amazon as a result of

10    their unlawful activities;

11           D.      That Fitzpatrick and Kelly-Krejci be required to pay all general, special and

12    actual damages that Amazon has sustained, or will sustain, as a consequence of their unlawful

13    acts, together with statutory damages, and that such damages be enhanced, doubled, or trebled

14    as provided for by 15 U.S.C. § 1117(b), RCW 19.86.020, or otherwise allowed by law;

15           E.      That Defendants be required to pay the costs of this action and Amazon’s

16    reasonable attorneys’ fees incurred in prosecuting this action, as provided for by 15 U.S.C.

17    § 1117, RCW 19.86.020; or otherwise allowed by law; and

18           F.      That the Court grant Amazon such other, further, and additional relief as the

19    Court deems just and equitable.

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 1          DATED this 12th day of November, 2020.

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